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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

   WSOU INVESTMENTS, LLC d/b/a                       §
   BRAZOS LICENSING AND                              §
   DEVELOPMENT,                                      §         CIVIL ACTION NO. 6:20-cv-473
                                                     §
             Plaintiff,                              §           JURY TRIAL DEMANDED
                                                     §
   v.                                                §
                                                     §
   DELL TECHNOLOGIES INC., DELL                      §
   INC., AND EMC CORPORATION,                        §
                                                     §
             Defendants.                             §

                  ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos” or

“Plaintiff”), by and through its attorneys, files this Complaint for Patent Infringement against Dell

Technologies Inc., Dell Inc., and EMC Corporation (collectively, “Defendants”) and alleges:

                                        NATURE OF THE ACTION
        1.       This is a civil action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.

                                               THE PARTIES
        2.       Brazos is a limited liability corporation organized and existing under the laws of

Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas 76701.

        3.       On information and belief, defendant Dell Technologies Inc. is a Delaware

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682.

        4.       On information and belief, defendant Dell Inc. is a Delaware corporation with a

principal place of business at One Dell Way, Round Rock, Texas 78682. Dell Inc. is wholly owned

by its corporate parent, Dell Technologies Inc.


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       5.      On information and belief, defendant EMC Corporation is a Massachusetts

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682. EMC

Corporation is wholly owned by its corporate parent, Dell Technologies Inc.

                                 JURISDICTION AND VENUE
       6.      This is an action for patent infringement which arises under the Patent Laws of the

United States, in particular, 35 U.S.C. §§ 271, 281, 284, and 285.

       7.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

       8.      This Court has specific and general personal jurisdiction over each defendant

pursuant to due process and/or the Texas Long Arm Statute, because each defendant has committed

acts giving rise to this action within Texas and within this judicial district. The Court’s exercise of

jurisdiction over each defendant would not offend traditional notions of fair play and substantial

justice because each defendant has established minimum contacts with the forum. For example,

on information and belief, each defendant has committed acts of infringement in this judicial

district, by among other things, selling and offering for sale products that infringe the asserted

patent, directly or through intermediaries, as alleged herein.

       9.      Venue in the Western District of Texas is proper pursuant to 28 U.S.C. §§1391

and/or 1400(b). Each defendant has established places of business in the Western District of Texas.

Each defendant is registered to do business in Texas. Upon information and belief, each defendant

has transacted business in this District and has committed acts of infringement in this District.

                             COUNT ONE - INFRINGEMENT OF
                                U.S. PATENT NO. 9,137,144

       10.     Brazos re-alleges and incorporates by reference the preceding paragraphs of this

Complaint.



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         25.    In view of preceding paragraphs, each and every element of at least claim 1 of the

‘144 Patent is found in the Accused Products.

         26.    Defendants continue to directly infringe at least one claim of the ‘144 Patent,

literally or under the doctrine of equivalents, by making, using, selling, offering for sale, importing,

and/or distributing the Accused Products in the United States, including within this judicial district,

without the authority of Brazos.

         27.    Defendants have received notice and actual or constructive knowledge of the ‘144

Patent since at least the date of service of this Complaint.

         28.    Since at least the date of service of this Complaint, through its actions, Defendants

have actively induced product makers, distributors, retailers, and/or end users of the Accused

Products to infringe the ‘144 Patent throughout the United States, including within this judicial

district, by, among other things, advertising and promoting the use of the Accused Products in

various websites, including providing and disseminating product descriptions, operating manuals,

and other instructions on how to implement and configure the Accused Products. Examples of

such advertising, promoting, and/or instructing include the documents at:

     •    https://topics-cdn.dell.com/pdf/smartfabric-os10-5-0 en-us.pdf
     •    https://www.dell.com/community/Connectrix/An-Introduction-to-VLAN-and-
          Trunk/td-p/7076385


         29.    Since at least the date of service of this Complaint, through its actions, Defendants

have contributed to the infringement of the ‘144 Patent by having others sell, offer for sale, or use

the Accused Products throughout the United States, including within this judicial district, with

knowledge that the Accused Products infringe the ‘144 Patent. The Accused Products are

especially made or adapted for infringing the ‘144 Patent and have no substantial non-infringing




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use. For example, in view of the preceding paragraphs, the Accused Products contain functionality

which is material to at least one claim of the ‘144 Patent.

                                             JURY DEMAND
       Brazos hereby demands a jury on all issues so triable.


                                    REQUEST FOR RELIEF

       WHEREFORE, Brazos respectfully requests that the Court:

       (A)     Enter judgment that Defendants infringe one or more claims of the ‘144 Patent

literally and/or under the doctrine of equivalents;

       (B)     Enter judgment that Defendants have induced infringement and continue to induce

infringement of one or more claims of the ‘144 Patent;

       (C)     Enter judgment that Defendants have contributed to and continue to contribute to

the infringement of one or more claims of the ‘144 Patent;

       (D)     Award Brazos damages, to be paid by Defendants in an amount adequate to

compensate Brazos for such damages, together with pre-judgment and post-judgment interest for

the infringement by Defendants of the ‘144 Patent through the date such judgment is entered in

accordance with 35 U.S.C. § 284, and increase such award by up to three times the amount found

or assessed in accordance with 35 U.S.C. § 284;

       (E)     Declare this case exceptional pursuant to 35 U.S.C. § 285; and

       (F)     Award Brazos its costs, disbursements, attorneys’ fees, and such further and

additional relief as is deemed appropriate by this Court.




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Dated: June 2, 2020                   Respectfully submitted,

                                     /s/ James L. Etheridge
                                     James L. Etheridge
                                     Texas State Bar No. 24059147
                                     Ryan S. Loveless
                                     Texas State Bar No. 24036997
                                     Travis L. Richins
                                     Texas State Bar No. 24061296
                                     ETHERIDGE LAW GROUP, PLLC
                                     2600 E. Southlake Blvd., Suite 120 / 324
                                     Southlake, Texas 76092
                                     Telephone: (817) 470-7249
                                     Facsimile: (817) 887-5950
                                     Jim@EtheridgeLaw.com
                                     Ryan@EtheridgeLaw.com
                                     Travis@EtheridgeLaw.com


                                     COUNSEL FOR PLAINTIFF




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